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                                                                                   BYD. MAHK JONf.;S, CU~RK

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  Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 9 of 24




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        CotvP u.J tt?n 'l!hatcl ·fht!: ttM?pii:e 4tj. 1-Jaa11P~ ii:> !?w
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Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 10 of 24




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      Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 11 of 24




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                                    Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 12 of 24




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     Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 17 of 24




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     Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 19 of 24




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 Case 2:15-cv-00250-CW Document 64 Filed 07/05/18 Page 20 of 24




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